Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 1 of 31




         Exhibit A
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 2 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 3 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 4 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 5 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 6 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 7 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 8 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 9 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 10 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 11 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 12 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 13 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 14 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 15 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 16 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 17 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 18 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 19 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 20 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 21 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 22 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 23 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 24 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 25 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 26 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 27 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 28 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 29 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 30 of 31
Case 4:18-cv-04476 Document 18-2 Filed on 02/08/19 in TXSD Page 31 of 31
